
ON APPLICATIONS FOR REHEARINGS
PER CURIAM.
In this matter both appellant and appel-lee have filed applications for rehearings. Appellant’s application calls our attention to the fact that our decree fails to assess costs. The point is well taken. We inadvertently did fail to assess costs and now take this opportunity to do so. Accordingly, our original decree is now amended and recast so as to read as follows:
“For the foregoing reasons, the judgment of the lower court is reversed and this case is remanded for further proceedings; costs of this appeal to be paid by the defendant-appellee; all other costs to await a final disposition.”
As we adhere to our original opinion, the applications for rehearings are refused.
Rehearings refused.
